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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

 GINERVA MOEHRLIN

         Plaintiff,

 v.                                                     CASE NO.: 6:17-cv-00913-PGB-TBS

 TD BANK USA, N.A. and
 TARGET CORPORATION,

         Defendant.

                               NOTICE OF PENDING SETTLEMENT

        PLAINTIFF, GINERVA MOEHRLIN, by and through her undersigned counsel, hereby submits

this Notice of Pending Settlement and states that Plaintiff, GINERVA MOEHRLIN, and Defendants, TD

BANK USA, N.A. and TARGET CORPORATION, have reached a settlement with regard to this case and

are presently drafting, finalizing, and executing the settlement and dismissal documents. Upon execution

of same, the parties will file the appropriate dismissal documents with the Court.


                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that, on December 6, 2017, a true and correct copy of the foregoing was

filed with the Clerk of the Court and served on the parties of record using the CM/ECF system.

                                                   Respectfully submitted,

                                 			     	       /s/Heather H. Jones
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